         Case 1:22-cv-00339-SPB Document 79 Filed 11/09/22 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE CONFERENCE OF THE :
NAACP., et al.,                      :
                                     :
                        Plaintiffs,  :                          NO. 1:22-cv-00339-SPB
                                     :
              v.                     :
                                     :
LEIGH M. CHAPMAN, et al.,            :
                                     :
                        Defendants.  :


                                            ORDER

       AND NOW, this           day of                 , 2022, it is hereby ORDERED and

DECREED that John B. Hill, Esquire, is admitted pro hac vice to the United States District

Court for the Western District of Pennsylvania, in the above-captioned matter only.

                                            BY THE COURT:




                                                                               J.
         Case 1:22-cv-00339-SPB Document 79 Filed 11/09/22 Page 2 of 7



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE CONFERENCE OF THE :
NAACP., et al.,                      :
                                     :
                        Plaintiffs,  :                           NO. 1:22-cv-00339-SPB
                                     :
              v.                     :
                                     :
LEIGH M. CHAPMAN, et al.,            :
                                     :
                        Defendants.  :

                        MOTION FOR ADMISSION PRO HAC VICE

       John B. Hill, undersigned counsel for Defendant Leigh M. Chapman in her official

capacity as Acting Secretary of the Commonwealth, hereby moves that John B. Hill be admitted

to appear and practice in this Court in the above-captioned matter as counsel pro hac vice for

Defendant Leigh M. Chapman in her official capacity as Acting Secretary of the

Commonwealth, pursuant to LCvR 83.2 and LCvR 83.3 and this Court’s Standing Order

Regarding Pro Hac Vice Admissions dated May 31, 2006 (Misc. No. 06-151).

       In support of this motion, undersigned counsel attaches the Affidavit of John B. Hill in

Support of Motion for Admission Pro Hac Vice filed herewith, which, it is averred, satisfies the

requirements of the foregoing Local Rules and Standing Order.

                                             Respectfully submitted,

 Dated: November 9, 2022                    HANGLEY ARONCHICK SEGAL PUDLIN &
                                            SCHILLER

                                            By: /s/ John B. Hill
                                                 John B. Hill
                                                 (Pa. I.D. No. 328340)
                                            One Logan Square, 27th Floor
                                            Philadelphia, PA 19103
                                            Telephone: (215) 568-6200
                                            Email: jhill@hangley.com
                                            Counsel for Defendant Leigh M. Chapman
                                            in her official capacity as Acting Secretary of the
                                            Commonwealth
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       Exhibit A


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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE CONFERENCE OF THE :
NAACP., et al.,                      :
                                     :
                        Plaintiffs,  :                           NO. 1:22-cv-00339-SPB
                                     :
              v.                     :
                                     :
LEIGH M. CHAPMAN, et al.,            :
                                     :
                        Defendants.  :

                      AFFIDAVIT OF JOHN B. HILL IN SUPPORT OF
                        MOTION FOR ADMISSION PRO HAC VICE

       I, John B. Hill, make this affidavit in support of the motion for my admission to appear

and practice in this Court in the above-captioned matter as counsel pro hac vice for Defendant

Leigh M. Chapman in her official capacity as Acting Secretary of the Commonwealth, pursuant

to LCvR 83.2 and LCvR 83.3 and this Court’s Standing Order Regarding Pro Hac Vice

Admissions dated May 31, 2006 (Misc. No. 06-151).

       I, John B. Hill, being duly sworn, do hereby depose and say as follows:

       1.              I am an associate of the law firm of Hangley Aronchick Segal Pudlin &

                       Schiller.

       2.       My business address is One Logan Square, 18th & Cherry Streets, 27th Floor,

                Philadelphia, Pennsylvania 19103.

       3.       My Pennsylvania bar identification number is 328340; my New York bar

                identification number is 5505508.

       4.       I am a member in good standing of the bars of: (1) the Commonwealth of

                Pennsylvania, (2) the State of New York, (3) the Eastern District of Pennsylvania,
            Case 1:22-cv-00339-SPB Document 79 Filed 11/09/22 Page 6 of 7




                (4) the Middle District of Pennsylvania, and (5) the Seventh Circuit Court of

                Appeals.

       5.       A current certificate of good standing from the Supreme Court of Pennsylvania is

                attached to this Affidavit as Exhibit A.

       6.       There are no disciplinary proceedings pending against me in any jurisdiction and

                no discipline has previously been imposed on me in any jurisdiction.

       7.       I attest that I am a registered user of ECF in the United States District Court for

                the Western District of Pennsylvania.

       8.       I attest that I have read, know and understand the Local Rules of Court for the

                United States District Court for the Western District of Pennsylvania

       9.       Based upon the foregoing, I respectfully request that I be granted pro hac vice

                admission in this matter.

       I certify and attest that the foregoing statements made by me are true. I am aware that if

any of the foregoing statements made by me are false, I am subject to the punishment.



 Dated: November 9, 2022                        /s/ John B. Hill
                                                John B. Hill




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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                     :
PENNSYLVANIA STATE CONFERENCE OF THE :
NAACP., et al.,                      :
                                     :                          NO. 1:22-cv-00339-SPB
                        Plaintiffs,  :
                                     :
              v.                     :
                                     :
LEIGH M. CHAPMAN, et al.,            :
                                     :
                        Defendants.  :
                                     :

                                CERTIFICATE OF SERVICE

       I, John B. Hill, certify that on November 9, 2022, a true and correct copy of the motion

for Admission Pro Hac Vice was filed electronically and it is available for viewing and

downloading from the ECF system.



                                                    /s/ John B. Hill
                                                    John B. Hill
